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Patrick J. Geile, ISB No. 6975
CHAPTER 7 BANKRUPTCY TRUSTEE
953 S. Industry Way
Meridian, ID 83642
Telephone (208) 888-9111
Direct (208) 947-1563
pgeile@foleyfreeman.com


                           UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF IDAHO

In Re:
                                                     Case No. 21-00135-NGH
FICARELLA, DANIEL R                                  Chapter 7

                                                     MOTION FOR APPROVAL OF SALE OF
                               Debtor.               REAL PROPERTY PURSUANT TO
                                                     SECTION 363(B) AND APPLICATION FOR
                                                     COMPENSATION OF REALTOR



         Pursuant to 11 U.S.C. § 363(b), Bankruptcy Rules 6004 and 9014, and LBR 2002.1,

Patrick J. Geile (the “Trustee”), the Chapter 7 Trustee in the above case, moves this Court for

approval to sell the real property (the “Real Property”) more fully described below and to

approve the compensation to Realtor requested herein. The information required by LBR 2002.1

is set forth in this motion as follows:

         1.     Description of Real Property: Approximately 0.15 acre commonly described as

1921 E. Maple, Caldwell, ID 83605 Canyon County and a legal description of:

                LOTS 19 AND 20 BLOCK 12, COLLEGE HEIGHTS ADDITION TO

                CALDWELL, CANYON COUNTY, ID.

         2.     Date, Time, and Place of Sale: Sale shall be by public auction on October 12th, at

11:00 a.m., telephonically. Interested parties can call the Trustee’s conference line at: 1-877-701-

9567 with Code: 8010839.
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        3.      Material Terms of Sale: The Real Property shall be sold to the highest bidder for

not less than a gross purchase price of $330,000.00. The Trustee has received and accepted from

Katherine E. Baldwin, a single woman (the “Buyer”), subject to higher bids and Court approval,

an offer of $330,000.00 for purchase of the Real Property. Trustee is not aware of any connection

between the Buyers and Debtor. Closing will be held at the convenience of the parties or as soon

after Court approval as possible.

        4.      Bidding Procedures: The opening bid price shall be the Buyers’ bid of $330,000.

Any competing overbids shall start at $335,000. Minimum bid increments shall be $5,000. Bidders

may bid in increments of more than $5,000 if desired. In order to participate in the auction, an

overbidder must submit to the Trustee, at least prior to the start of the auction, certified funds in

the amount of $5,000, payable to “Patrick J. Geile, Trustee.” Should the overbidder be the winning

bidder, these funds will be retained by the Trustee as a nonrefundable deposit for application

against the purchase price at the closing; or returned to the overbidder in the event that the

Bankruptcy Court does not approve the sale. The certified funds of unsuccessful bidders will be

refunded to those parties after the auction.

        5.      Sale Free and Clear: This is not a sale free and clear pursuant to 11 U.S.C. §

363(f). Instead, all valid encumbrances will be paid in full at closing. All valid liens shall attach to

the sale proceeds.

        6.      Fair Market Value: Trustee believes the purchase price is approximate to the fair

market value of the property, based on his discussion with his realtor and current market conditions

in Island Park, Idaho

        7.      Known Liens or Encumbrances: A lien to U.S.D.A Rural Development in the

amount of $92,843 and a second lien to U.S.D.A Rural Development in the amount of $10,425.
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       8.      Homestead Exemption: Debtor’s do claim a homestead exemption in the amount

of $175,000.

       9.      Distribution of Sale Proceeds: Subject to Court approval, Trustee estimates that

the sale proceeds shall be distributed in the following approximate amounts at the time of closing:

                               Sale Price:                                              $330,000

                               Less Estimated Deductions:



                               Homestead Exemption                                      $175,000

                               Lien Amounts                                             $103,268

                               6% Realtor Commission                                     $19,800

                               Estimated Closing Costs                                    $6,600



                               Net Proceeds to Estate:                                   $25,332



       10.     Objections: Pursuant to Bankruptcy Rule 6004(b), if you object to the sale, you

must file a written objection with the U.S. Bankruptcy Court (550 W. Fort St., MSC 042, Boise,

ID 83724) no later than 21 days from the mailing of this Motion. You must also serve a copy upon

the Trustee (Patrick J. Geile, PO Box 925, Meridian, ID 83680). You may also attend the scheduled

hearing and present your views or support your filed response.

       11.     No Tax Consequences to Bankruptcy Estate: Trustee does not estimate any tax

consequences to the bankruptcy estate from the sale of the Real Property.
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        12.      The Trustee believes and certifies that all interested parties have been properly

notified pursuant to Bankruptcy Rules 2002 and 6004, and LBR 2002.1. The Trustee believes the

proposed sale is in the best interest of the estate and creditors.

        13.      THE SUBJECT PROPERTY SHALL BE SOLD AS IS, WHERE IS, AND

WITHOUT WARRANTY OF ANY NATURE WHATSOEVER, EITHER EXPRESSED OR

IMPLIED. The Trustee requests that approval of this sale be effective immediately and the 14-day

stay imposed by Fed. R. Bankr. P 6004(h) and other rules be waived.

        14.      Compensation of Realtor: Trustee filed an Application for an Order Approving

Employment of Professional Realtor (the “Application”) (Dk. No. 24) on July 20, 2021 to employ

Todd Moffis (“Realtor”) at the rate of 6% of the gross sale price of the Real Property. The Court

entered its Order Approving Employment of Realtor (Dk. No. 27) on August 31, 2021. Realtor

listed the Real Property on the MLS. Realtor obtained the purchase offer from the Buyers that is

the subject of this motion. Accordingly, pursuant to 11 U.S.C. § 327 and 330(a), Trustee seeks

Court approval of Realtor’s commission of $19,800.00 (6% of the gross sales price) or 6% of the

highest gross bid for the Real Property, should there be competitive bidding at the auction for the

Real Property.
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this date as indicated below, I electronically filed the foregoing
Application for an Order Approving Employment of Professional Realtor with the Clerk of the
Court using the CM/ECF system, which sent a Notice of Electronic Filing to the individuals so
noted below. I further certify that, on the same date, I have mailed by first class mail, postage
prepaid the foregoing document to the following non-EM/E.C.F. Registered Participant(s) either
listed below or on an attached list.

*Electronic Notification

U.S. Trustee
ustp.region18.bs.ecf@usdoj.gov

Michael Shawn Jacques
michael@jacqueslaw.net

Served via U.S. Mail:

Ficarella, Daniel R
1921 E. Maple St.
Caldwell, ID 83605

Todd Moffis
Team Realty
985 Corporate Lane
Nampa, ID 83651

See Attached Matrix


                                                     /s/ Patrick J. Geile
                                                     Patrick J. Geile
                                                     Dated: September 10, 2021
